                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF MISSOURI
                                    SOUTHERN DIVISION

UNITED STATES OF AMERICA,                    )
                                             )
                  Plaintiff,                 )
                                             )
            vs.                              ) Case No. 18-3137-01/02-CR-S-BP
                                             )
                                             )
DEANNA L. HARRIS, a/k/a Deanna L.            )
  Tolbert, and                               )
ROBIN L. PARKER, a/k/a Robin L.              )
   Ragan,                                    )
                                             )
                  Defendants.                )


  ORDER AUTHORIZING TEMPORARY TRANSFER OF CUSTODY ON CONSENT

       Upon receipt of written consent from counsel for the United States and counsel for a

defendant, the United States Marshal is authorized to temporarily transfer custody of that

defendant, if a federal prisoner, to a federal law enforcement agency for the purpose of furthering

a legitimate law enforcement purpose or investigation. The defendant, whose custody is

temporarily transferred pursuant to this authority, shall remain in the United States Courthouse,

222 North John Q. Hammons Parkway, Springfield, Missouri, or other facility in which the

defendant is incarcerated, and shall be returned by the federal law enforcement agency to the

United States Marshal=s Service cell block or to the designated place of confinement no later than

4:00 p.m. on the day of the temporary transfer.

       If custody of a defendant is temporarily transferred to a federal law enforcement agency

pursuant to this authority, then a federal law enforcement agent of that agency shall be present

with the defendant at all times. Agents of the federal law enforcement agency to whom

temporary custody of a defendant is transferred shall be responsible for the safe and secure

custody of the defendant, as well as his well being, while he is in the temporary custody of that




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federal law enforcement agency.

           IT IS SO ORDERED.




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